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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division

 UNITED STATES OF AMERICA,                     )       Criminal No. 4:17cr76
                                               )
                     v.                        )
                                               )
 ELMER EMMANUEL EYCHANER,                      )
                                               )
                 Defendant.                    )

         GOVERNMENT’S CONSOLIDATED RESPONSE IN OPPOSITION TO
   DEFENDANT’S MOTION TO DISMISS COUNT ONE, MOTION TO DISMISS COUNT
  TWO, MOTION FOR A BILL OF PARTICULARS, AND MOTION FOR SEVERANCE OF
        COUNT FIVE OR IN THE ALTERNATIVE FOR A BIFURCATED TRIAL

         The United States of America, through its attorneys, Dana J. Boente, United States

 Attorney, and Megan M. Cowles and Lisa R. McKeel, Assistant United States Attorneys,

 respectfully submits this response in opposition to the defendant’s motions to dismiss Count One,

 dismiss Count Two, bill of particulars, and severance of Count Five or in the alternative for a

 bifurcated trial.   For the reasons set forth below, the Court should deny the defendant’s Motions.

                                          BACKGROUND

         On August 16, 2017, the defendant, ELMER EMMANUEL EYCHANER, was charged in

 a five-count indictment by a federal grand jury sitting in Newport News, Virginia.             The

 indictment charges the defendant with Access with Intent to View Visual Depictions of Minors

 Engaging in Sexually Explicit Conduct, in violation of 18 U.S.C. § 2252(a)(4)(B) (Count One);

 Attempted Receipt of Obscene Visual Representations of the Sexual Abuse of Children, in

 violation of 18 U.S.C. § 1466A(a)(1) (Count Two); Destruction of a Tangible Object to Impede a

 Federal Investigation, in violation of 18 U.S.C. § 1519 (Count Three); Obstruction of Justice-



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 Attempted Evidence Tampering, in violation of 18 U.S.C. § 1512(c)(1) (Count Four); and Penalties

 for Registered Sex Offender, in violation of 18 U.S.C. § 2260A (Count Five).

        The charges stem from allegations that the defendant possessed child pornography,

 attempted to circumvent computer monitoring software, and used a computer without approval of

 the probation officer while on federal supervision in criminal case 2:07cr183, pursuant to a federal

 conviction for Possession of Material Containing Child Pornography. The defendant began a life

 term of supervised release on June 16, 2016, following his release from custody of the United

 States Bureau of Prisons (BOP).

        On August 5, 2016, a computer monitoring software program was installed on the

 defendant’s personal laptop. On August 18, 2016, the defendant was instructed by the probation

 officer to only use his computer for job searches or email.     It is alleged that on November 18,

 2016, during a personal telephone contact with his probation officer, the defendant admitted

 utilizing “Cortona,” a voice controlled virtual assistant for Microsoft Windows 10, rather than

 keystrokes, to circumvent the computer monitoring program on November 17, 2016, to view

 images that include “anime” images of child pornography.      It is further alleged that the defendant

 advised that he broke the computer and removed the hard drive from the computer.                 The

 defendant was instructed to surrender his laptop computer to the probation officer.

      It is further alleged that during a November 18, 2016 personal home contact with his probation

 officer, the defendant admitted viewing “child pornography anime” and one or two images of child

 pornography on or about November 17, 2016.           Additionally, it is alleged that the defendant

 admitted clearing his search history after viewing the child pornography images.      The defendant

 surrendered his laptop computer, computer battery, power cord, and cordless mouse to the




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 probation officer. Subsequent to this admission, the probation officer reviewed the records from

 the computer monitoring service, and found violations under the screenshots.

      Probation Officer Mako is responsible for the computer monitoring of individuals on

 probation, and the computer monitoring program used in the defendant’s case was Remote Com.

 Remote Com installed the monitoring program remotely on the defendant’s computer.           Remote

 Com does not send weekly reports, and instead the program has monitors that will alert the

 probation officer when inappropriate activity occurs. In this instance, the defendant reported his

 violation to his probation officer before Probation Officer Mako was notified by Remote Com.

 Probation Officer Mako then went into the Remote Com program and viewed the defendant’s

 activity on the computer the previous day, downloaded that activity to a disc, and provided the disc

 to the defendant’s probation officer.

      The Remote Com program captures websites accessed, chats, and keystrokes.            Probation

 Officer Mako noted that in the defendant’s case, his keystrokes were not being captured, because

 the defendant was using voice commands instead of a keyboard.             Probation Officer Mako

 reviewed the program’s screenshots and saw that the defendant had deleted his search history.

                                           ARGUMENT

 I.     The Defendant’s Motion to Dismiss Count One Should Be Denied.

        A. Legal Authority

        Federal Rule of Criminal Procedure 7(c)(1) directs that an indictment “shall be a plain,

 concise, and definite written statement of the essential facts constituting the offense charged.”

 “To pass constitutional muster, an indictment must (1) indicate the elements of the offense and

 fairly inform the defendant of the exact charges and (2) enable the defendant to plead double

 jeopardy in subsequent prosecutions for the same offense.” United States v. Williams, 152 F.3d



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 294, 299 (4th Cir. 1998). Accord Hamling v. United States, 418 U.S. 87, 117 (1974); Brandon,

 298 F.3d at 310; Loayza, 107 F.3d at 260-62; and United States v. Sutton, 961 F.2d 476, 479 (4th

 Cir. 1992). Ordinarily, an indictment that tracks the statutory language is sufficient. See Hamling,

 418 U.S. at 117.

        The defendant moves to dismiss Count One as unconstitutionally duplicitous.        In support

 of this claim, the defendant argues that the government has failed to identify the total number of

 websites or explicitly name the websites that he is alleged to have accessed with the intent to view

 visual depictions of minors engaged in sexually explicit conduct in Count One.        Therefore, the

 defendant argues that it is impossible for the defendant to prepare a defense to Count One.

        Duplicity under Federal Rule of Criminal Procedure 8(a) “is the joining in a single count

 of two or more distinct and separate offenses.” United States v. Burns, 990 F.2d 1426, 1438 (4th

 Cir.1993); see also United States v. Kamalu, 298 Fed.Appx. 251, 254 (4th Cir.2008) (quoting

 Burns, 990 F.2d at 1438); United States v. Shorter, 809 F.2d 54, 56 (D.C.Cir.1987) (quoting 1 C.

 Wright, Federal Practice & Procedure: Criminal § 142 (2d ed.1982), abrogated on other grounds

 in Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993)).

 “When an indictment impermissibly joins separate offenses that occurred at different times,

 prosecution of the earlier acts may be barred by the statute of limitations.” Smith, 373 F.3d at

 563. “ ‘The overall vice of duplicity is that the jury cannot in a general verdict render its finding

 on each offense, making it difficult to determine whether a conviction rests on only one of the

 offenses or on both.’ ” Kamalu, 298 Fed.Appx. at 254 (quoting United States v. Duncan, 850 F.2d

 1104, 1108 n. 4 (6th Cir.1988), abrogated on other grounds by Schad v. Arizona, 501 U.S. 624,

 111 S.Ct. 2491, 115 L.Ed.2d 555 (1991)). Additionally, if the indictment is duplicitous, the

 defendant may not understand the charges against him, might be convicted by less than a



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 unanimous jury, may be prejudiced by evidentiary rulings at trial, or may be subjected to double

 jeopardy. United States v. Berardi, 675 F.2d 894, 899 (7th Cir.1982).

         However, the prohibition on duplicity does not apply if the multiple “‘acts could be

 characterized as part of a single, continuing scheme.’ ” Id. (quoting Shorter, 809 F.2d at 56); see

 also United States v. Berardi, 675 F.2d 894, 898 (7th Cir.1982) (an indictment is not duplicitous

 if it charges a single offense carried out through many different means).

         Moreover, “a duplicitous count is not to be dismissed unless it causes prejudice to the

 defendant.” Id. (citing United States v. Sturdivant, 244 F.3d 71, 75 (2d Cir.2001) (citing United

 States v. Margiotta, 646 F.2d 729, 733 (2d Cir.1981))). “Where the indictment ‘fairly interpreted’

 alleges a ‘continuing course of conduct, during a discrete period of time,’ the indictment is not

 prejudicially duplicitous.” United States v. Davis, 471 F.3d 783, 790 (7th Cir.2006) (quoting

 Berardi, 675 F.2d at 898). Because “[t]he line between multiple offenses and multiple means to

 the commission of a single continuing offense is often a difficult one to draw,” the “decision is

 left, at least initially, to the discretion of the prosecution.” Id. (citing United States v. Tanner, 471

 F.2d 128, 138 (7th Cir.1972)).

         Furthermore, dismissal is not the appropriate remedy when a duplicitous indictment can be

 cured through jury instructions. “It is black letter law that duplicitous indictments can be cured

 through appropriate jury instructions.” United States v. Robinson, 627 F.3d 941, 958 (4th Cir.

 2010). See also United States v. Mauskar, 557 F.3d 219, 226-27 (5th Cir. 2009), cert. denied, 129

 S. Ct. 2756, 174 L. Ed. 2d 263 (2009) (holding that even assuming arguendo that the count in the

 indictment was duplicitous, no prejudice resulted, because the court gave a jury instruction that

 required unanimity on one of the three objects of the alleged conspiracy). A duplicitous charge

 “is not prejudicial per se, because proper jury instructions can mitigate the risk of jury confusion



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 and alleviate the doubt that would otherwise exist as to whether all members of the jury had found

 the defendant guilty of the same offense.” U.S. v. Savoires, 430 F.3d 376 (6th Cir. 2005).

         B. Argument

         Count One of the indictment charges a single pattern of conduct during a discrete period

 of time on November 17, 2016.       Specifically, Count One of the indictment charges that:

         On or about November 17, 2016, in the Eastern District of Virginia, defendant ELMER
         EMMANUEL EYCHANER, III, did knowingly access with intent to view at least one
         matter, that is websites, which contained visual depictions that has been mailed, shipped
         and transported using any means and facility of interstate and foreign commerce, has been
         shipped and transported and in and affecting interstate and foreign commerce, and was
         produced using materials which have been mailed and shipped and transported in and
         affecting interstate and foreign commerce, by any means including by computer, and the
         production of such visual depiction involved the use of a minor engaging in sexually
         explicit conduct and the visual depiction is of such conduct. (In violation of Title 18,
         United States Code, Sections 2252(a)(4)(B), 2252(b)(2) and 2256(2).)


         The charges stem from the defendant’s alleged use of his computer on November 17,

 2016, to access child pornography and obscene anime cartoons.         This conduct is alleged to have

 occurred on one day, and is properly characterized as a single course of conduct.       Since the

 indictment involves conduct that occurred on one day, there is no concern that the prosecution of

 any of the websites he accessed with intent to view may be barred by the statute of limitations.

         Defendant’s reliance on United States v. Toussie, 397 U.S. 112 (1970), is misguided.         In

 that case, the defendant was convicted of failing to register for the draft. Id. at 112. The

 Supreme Court reversed the defendant’s conviction and held that the prosecution was barred by

 the statute of limitations. Id. at 113. In declining to extend the statute of limitations, the Court

 held that:

         the doctrine of continuing offenses should be applied in only limited circumstances since,
         as the Court of Appeals correctly observed in this case, ‘(t)he tension between the purpose
         of a statute of limitations and the continuing offense doctrine is apparent; the latter, for all
         practical purposes, extends the statute beyond its stated term.’ 410 F.2d, at 1158. These

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         considerations do not mean that a particular offense should never be construed as a
         continuing one. They do, however, require that such a result should not be reached unless
         the explicit language of the substantive criminal statute compels such a conclusion, or the
         nature of the crime involved is such that Congress must assuredly have intended that it be
         treated as a continuing one.

 Id. at 115.


         In Toussie, the Court was concerned with the statute of limitations, but in this case, any

 attempt to access the visual depictions through websites occurred on a single day, and there is no

 similar concern about the statute of limitations.

         In this case, the Government has the discretion to charge the defendant in a single count

 for this conduct, rather than in multiple counts for each website he accessed.   Moreover, the

 defendant benefits from this discretionary charging decision, because each discrete count would

 be amenable to a separate sentence upon conviction. Because the conduct charged here relates

 to continuing conduct over a discrete, one day period, Count One is not duplicitous.     Therefore,

 the defendant’s motion to dismiss Count One should be denied.       To the extent that the Court

 views Count One to be duplicitous, the Court can remedy this issue through appropriate jury

 instructions.

 II.     The Defendant’s Motion to Dismiss Count Two Should Be Denied.

         The restrictions in Section 1466A(a)(1) of Title 18 of the U.S. Code on obscene material

 are neither unconstitutionally overbroad nor vague, facially or as applied to this defendant.      The

 defendant argues that Count Two should be dismissed for the following reasons: 1) § 1466A is

 unconstitutionally vague as applied to this case because the defendant alleges that he is charged

 with attempting to receive obscene cartoons but that the Government has not identified a specific

 cartoon that is obscene; § 1466A imposes draconian criminal penalties for attempted receipt of

 obscene cartoons, which unconstitutionally chills protected speech in violation of the First

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 Amendment; 3) § 1466A infringes on fundamental liberties—private sexual conduct in the home,

 which are protected by substantive due process; Count Two fails to state an offense, which fails to

 fairly inform the defendant of the charge against which he must defend; and 5) Count Two violates

 the rule against duplicity by charging the defendant with both attempt to receive obscene materials

 and the completed offense.     For the reasons outlined below, this Court should reject each of the

 defendant’s arguments.

        A. Legal Authority

        Acts of Congress are presumed to be constitutional. See, e.g., Munn v. Illinois, 94 U.S.

 113, 124 (1876) ("Every statute is presumed to be constitutional."). Accordingly, "[t]he courts

 ought not to declare one to be unconstitutional, unless it is clearly so. If there is doubt, the

 expressed will of the legislature should be sustained." Id. at 124. A facial challenge to a statute,

 such as that made by the defendant is “the most difficult challenge to mount successfully, since

 the challenger must establish that no set of circumstances exists under which the Act would be

 valid.” United States v. Salerno, 481 U.S. 739, 745 (1987). See also United States v.

 Ballinger, 395 F.3d 1218, 1225, n. 2 (11th Cir. 2005) (en banc) (quoting Salerno, 481 U.S. at

 745). Thus, courts must exercise caution and reluctance before striking down a statute. See

 Parker v. Levy, 417 U.S. 733, 760 (1974) (holding that courts must be "reluctant[ ] to strike

 down a statute on its face where there [are] a substantial number of situations to which it might

 validly be applied"); Erznoznik v. City of Jacksonville, 422 U.S. 205, 216 (1975) (emphasizing

 caution before striking down state statute as facially unconstitutional). The defendant has fallen

 far short of showing that there is no set of circumstances under which Section 1591(a) would be

 valid. Indeed, the facts of this case demonstrate a set of circumstances in which the statute is

 clearly constitutional. The defendant’s facial challenge to the statute must therefore fail.



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        The enactment of Pub. L. 108-21, 117 Stat. 652 (2003) (effective Apr. 30, 2003), created

 a new statute, 18 U.S.C. Section 1466A, proscribing certain conduct relating to obscene visual

 representations of the sexual abuse of children.       This statute was part of the legislative response

 to the Supreme Court’s opinion in Ashcroft v. Free Speech Coalition, 535 U.S. 234 (2002), in

 which the Court held that in child pornography cases the government has to prove that the children

 depicted in the images are real, but reiterated that images not depicting real minors are subject to

 prosecution if they are obscene.     Section 1466A has four separate offense provisions: (a)(1),

 (a)(2), (b)(1), and (b)(2), all of which are premised on the satisfaction of any one of five

 jurisdictional requirements set forth in subsection (d):

             (1) Any communication involved in the offense is communicated by mail, or
             in interstate or foreign commerce, or if any means or instrumentality of
             interstate or foreign commerce is otherwise used in committing the offense; or

             (2) Any communication involved in the offense contemplates the
             transportation of a visual depiction by the mail or in interstate or foreign
             commerce; or

             (3) Any person travels in interstate or foreign commerce in the course of the
             commission of the offense; or

             (4) Any visual depiction involved in the offense has been mailed or
             transported in interstate or foreign commerce or was produced using materials
             that have been mailed or transported in interstate or foreign commerce; or

             (5) The offense is committed in the special maritime and territorial
             jurisdiction of the United States or in any territory or possession of the
             United States.

 Section 1466A(a)(1) states, in pertinent part:

             Any person who, in a circumstance described in subsection (d), knowingly
             produces, distributes, receives, or possesses with intent to distribute, a visual
             depiction of any kind, including a drawing, cartoon, sculpture, or painting, that

             (A) depicts a minor engaging in sexually explicit conduct; and

             (B) is obscene...

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               or attempts or conspires to do so, shall be subject to the penalties provided [for
               the commission of child pornography offenses as set forth in 18 U.S.C.]
               [S]ection 2252A (b)(1)...

        The term “sexually explicit conduct” has the same meaning given the term in the child

 pornography provisions (Sections 2256(2)(A) or 2256(2)(B)).           18 U.S.C. Section 1466A(f)(2).

 The term “minor” means any person under the age of eighteen years.         18 U.S.C. Section 2256(1).

        B. Argument

        The defendant makes five arguments in support of dismissing Count Two. First, the

 defendant argues that as applied to non-existent or unspecified materials, the crime of attempted

 receipt of obscenity under § 1466A is unconstitutionally vague. The defendant argues that the

 indictment fails to identify any particular cartoon that the defendant attempted to receive and the

 indictment fails to allege that the “obscene anime cartoons” in question actually existed. Therefore,

 the defendant argues that the jury will be asked to answer whether unspecified or even nonexistent

 item is obscene.

        Since Count Two indicates the elements of the offense and informs the defendant of the

 exact charge, this Court should not dismiss Count Two.             As noted in Section I, “To pass

 constitutional muster, an indictment must (1) indicate the elements of the offense and fairly inform

 the defendant of the exact charges and (2) enable the defendant to plead double jeopardy in

 subsequent prosecutions for the same offense.”      United States v. Williams, 152 F.3d 294, 299 (4th

 Cir. 1998).     Ordinarily, an indictment that tracks the statutory language is sufficient. See

 Hamling, 418 U.S. at 117.     Count Two of the indictment tracks the statutory language of § 1466A,

 and specifies that the obscene visual depictions depicting minors engaging in sexual conduct were

 “obscene anime cartoons,” based on the defendant’s confession to probation officers.               This

 argument ignores the over 600 pages of PDF screenshots the Government has made available for

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 defense, and that defense counsel has reviewed showing the defendant’s search terms and the

 images that resulted from those search terms. The United States has already provided information

 to the Defendant about the child pornography and obscene anime cartoons which the defendant is

 alleged to have accessed and attempted to access. To the extent that there is a question about

 whether these cartoons are obscene, the Government requests a hearing and an opportunity to

 present the obscene cartoons in question for this Court’s review.

        The defendant also argues that the statute imposes severe criminal penalties for attempted

 receipt of obscene cartoons, chilling protected speech and that a statute prohibiting the private

 exchange of obscene cartoons between consenting adults violates fundamental liberty interests

 protected under the Fifth and Fourteenth Amendments. The Government submits that United

 States v. Whorley, 550 F.3d 326 (4th Cir. 2008) controls.   In Whorley, the Fourth Circuit noted

 that the language of § 1466A(a)(1) prohibits visual depictions of minors only when they are

 obscene. Id. at 337. The court further noted:

         Ashcroft itself noted that obscenity in any form is not protected by the First Amendment.
        See Ashcroft, 535 U.S. at 245–46, 122 S.Ct. 1389; see also Miller, 413 U.S. at 24, 93 S.Ct.
        2607; Kaplan, 413 U.S. at 119, 93 S.Ct. 2680. Thus, regardless of whether § 1466A(a)(1)
        requires an actual minor, it is nonetheless a valid restriction on obscene speech under
        Miller, not a restriction on non-obscene pornography of the type permitted by Ferber.

 Id.

        The defendant also argues that the indictment’s failure to list any specific work as a

 violation of the statute must result in dismissal. As outlined in Section IV of the government’s

 response, the government has provided the defendant with ample discovery identifying the specific

 obscene material the defendant is accused of receiving and attempting to receive.

        Finally, the defendant argues that Count Two must be dismissed for duplicity because it

 charges more than one offense—the attempt and the underlying offense. “[D]uplicity is the joining



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 in a single count of two or more distinct and separate offenses.” United States v. Burns, 990 F.2d

 1426, 1438 (4th Cir.1993); see also United States v. Kamalu, 298 Fed.Appx. 251, 254 (4th

 Cir.2008) (quoting Burns, 990 F.2d at 1438); United States v. Shorter, 809 F.2d 54, 56

 (D.C.Cir.1987) (quoting 1 C. Wright, Federal Practice & Procedure: Criminal § 142 (2d

 ed.1982), abrogated on other grounds in Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 113

 S.Ct. 2786, 125 L.Ed.2d 469 (1993)).          In Count Two, the defendant is charged with both

 attempting to receive obscene visual representations and receiving obscene visual representations.

 Because this conduct is part of a single, continuing scheme, Count Two is not duplicitous. See

 United States v. Berardi, 675 F.2d 894, 898 (7th Cir.1982) (alleging multiple acts is not duplicitous

 if the acts are part of a continuing course of conduct).

 III.      A Bill of Particulars is Not Necessary

           A. Legal Authority

           The Court may order the United States to file a bill of particulars.   See Federal Rules of

 Criminal Procedure 7(f).      However, a defendant is not entitled to a bill of particulars as a matter

 of right.    See Wong Tai v. United States, 273 U.S. 77, 82 (1927).      Rather, “a bill of particulars

 is a defendant’s means of obtaining specific information about charges brought in a vague or

 broadly-worded indictment.” United States v. Dunnigan, 944 F.2d 178, 181 (4th Cir. 1991)

 (citing United States v. Debrow, 346 U.S. 374, 378 (1953)), rev’d on other grounds, 507 U.S. 87

 (1993).     The purpose of a bill of particulars is not to provide detailed disclosure of the

 government's evidence prior to trial, but rather to fairly inform a defendant of the charges so that

 said defendant may adequately prepare a defense, avoid or minimize surprise at trial, and plead

 in bar of another prosecution for the same offense.      Wong Tai, 273 U.S. at 82-83; United States

 v. Automated Med. Labs., Inc., 770 F.2d 399, 405 (4th Cir. 1985).        A court's grant or denial of a



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 motion for a bill of particulars lies within its sound discretion.    Wong Tai, 273 U.S. at 82;

 United States v. MacDougall, 790 F.2d 1135, 1153 (4th Cir. 1986).

          Where an indictment is sufficiently detailed, as it is in this case, a defendant is not permitted

 to seek a bill of particulars to discover evidence of the Government’s case prior to trial or to force

 the Government to “weave the information at its command into the warp of a fully integrated trial

 theory for the benefit of the defendants. . . .” United States v. Addonizio, 451 F.2d 49, 64 (3d Cir.

 1971); see also United States v. Automated Medical Labs., Inc., 770 F.2d 399, 405 (4th Cir. 1985).

 An indictment fulfills the requirements of the Federal Rules of Criminal Procedure when it is a

 “plain, concise and definite written statement of the essential facts constituting the offense

 charged.” Fed. R. Crim. P. 7(c)(l); United States v. Duncan, 598 F.2d 839, 848 (4th Cir. 1979),

 cert. denied, 444 U.S. 871 (1979).       An indictment is sufficiently detailed if it alleges the

 essential elements of the crime with which the defendant is charged in a manner that permits the

 defendants to prepare a defense and plead double jeopardy in any future prosecution for the same

 offense. See Hamling v. U.S.,418 U.S. 87, 117 (1974); see also United States v. Mason, 52 F.3d

 1286, 1288 (4th Cir. 1995); United States v. Hooker, 841 F.2d 1225, 1227 (4th Cir. 1988).

          Where an indictment fully complies with these requirements, a bill of particulars is

 unwarranted. See Automated Medical Laboratories, Inc., 770 F.2d at 405. A bill of particulars

 is not an investigative vehicle for the defense and motions should be denied where underlying

 evidentiary matter is requested.     See United States v. Fawley No. 2:12cr13, 2012 WL

 1804846,*2 (N.D.W.Va. May 17, 2012); United States v. Anderson, 481 F.2d 685, 691 (4th Cir.

 1973).    Bills of particulars are not designed to compel the government to disclose its theory of

 the case, its witnesses, or a detailed description of the manner and means by which the crime was

 committed.     See United States v. Kilrain, 566 F.2d 979, 985 (5th Cir. 1978), cert. denied, 439



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 U.S. 819 (1978); United States v. Little, 562 F.2d 578, 581 (8th Cir. 1977).     Similarly, the

 government is not required to reveal the details of its evidence or the precise manner in which

 the prosecution will attempt to prove the charges alleged.     See United States v. Gabriel, 715

 F.2d 1447, 1449 (10th Cir. 1983); United States v. Hajecate, 683 F.2d 894, 898 (5th Cir. 1982),

 cert. denied, 461 U.S. 927 (1983); United States v. Andrews, 381 F.2d 377, 378 (2nd Cir. 1967),

 cert. denied, 390 U.S. 960 (1967); United States v. Brevard, 27 F.R.D. 250, 251 (S.D.N.Y.

 1961).

          The courts have also denied a defendant=s motion for a bill of particulars when the

 requested information is otherwise available. United States v. Esquival, 755 F.Supp, 434, 436

 (D.C. Cir. 1990).    Even if an indictment fails to supply sufficient information, the court may

 properly deny such a request when Athe materials voluntarily provided by the Government served

 to apprise the defendant of the needed information.@     United States v. Glecier, 923 F.2d 496,

 502 (7th Cir. 1991).    Where the underlying objectives of a Rule 7 motion are fully satisfied by

 informal and formal discovery, defendants are not also entitled to an unnecessary bill of

 particulars.   See United States v. Soc=y of Indep. Gasoline Marketers of America, 624 F.2d 461,

 466 (4th Cir. 1979), cert. denied, 449 U.S. 1078 (1981); Duncan at 849; United States v. Pollack,

 534 F.2d 964, 970 (D.C. Cir. 1976), cert. denied, 429 U.S. 924 (1976); United States v. Clay,

 476 F.2d 1211, 1215 (9th Cir. 1973).

          B. Argument

          In this case, the Indictment is sufficiently detailed to apprise the defendant of the charges

 he will face at trial. Moreover, the United States has provided the defendant with a significant

 amount of discovery, and made additional discovery available to the defendant and a defense

 expert. Therefore, a bill of particulars is unwarranted.



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          The defendant alleges that the allegations in Counts One and Two of the indictment fail to

 properly apprise Mr. Eychaner of the specific facts upon which the government is proceeding, and

 that a bill of particulars is therefore necessary to enable the defendant to prepare an effective

 defense. Specifically, the defendant requests that this Court order the government to provide the

 following information to the defendant: 1) what “website” the defendant is alleged to have

 accessed with intent to view child pornography, 2) which images the government believes involve

 actual minors, and 3) which “obscene anime cartoon” Mr. Eychaner is alleged to have received or

 attempted to have received. ECF 23, p. 6.

          Count One of the indictment charges that:

          On or about November 17, 2016, in the Eastern District of Virginia, defendant ELMER
          EMMANUEL EYCHANER, III, did knowingly access with intent to view at least one
          matter, that is websites, which contained visual depictions that has been mailed, shipped
          and transported using any means and facility of interstate and foreign commerce, has been
          shipped and transported and in and affecting interstate and foreign commerce, and was
          produced using materials which have been mailed and shipped and transported in and
          affecting interstate and foreign commerce, by any means including by computer, and the
          production of such visual depiction involved the use of a minor engaging in sexually
          explicit conduct and the visual depiction is of such conduct. (In violation of Title 18,
          United States Code, Sections 2252(a)(4)(B), 2252(b)(2) and 2256(2).)

 ECF 1.

          Count Two of the indictment charges that:

          On or about November 17, 2016, in the Eastern District of Virginia, the defendant, ELMER
          EMMANUEL EYCHANER, II, knowingly received and attempted to receive visual
          depictions that depicts minors engaging in sexually explicit conduct and are obscene, to
          wit: obscene anime cartoons, that were mailed and shipped and transported in interstate
          and foreign commerce by any means, including by computer, and were produced using
          materials that have been mailed, and that had been shipped and transported in interstate
          and foreign commerce by any means, including by computer. (In violation of Title 18,
          United States Code, Section 1466 A(a)(1).)

 ECF 1.




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        This level of detail in the Indictment provides more than enough information to permit the

 defendant to prepare a defense and plead double jeopardy in any future prosecution for the same

 offense.

      Finally, a bill of particulars is inappropriate when the government supplements an indictment

 with extensive discovery, as it has done in this case. See United States v. SIGMA, 624 F.2d 461,

 466 (4th Cir. 1979), cert. denied, 449 U.S. 1078 (1981). As previously noted, the United States

 has provided the Defendant with extensive documentary discovery, including: Probation Officer

 Mako’s interview describing Remote Com and how the Government recovered the PDF

 screenshots of the defendant’s illicit computer activity; the defendant’s criminal history; the

 petition on supervised release in case 2:07cr183, outlining the defendant’s confession to his

 probation officer where he admitted to viewing both “child pornography anime” and one or two

 images of child pornography on or about November 17, 2016; Supervisory United States Probation

 Officer Stephanie Powers’s interview, outlining Eychaner’s confession on November 18, 2016 to

 viewing images of child pornography, searching for images of the Lolita movie, and breaking his

 laptop computer; Senior United States Probation Officer Candice Yost’s interview, outlining

 Eychaner’s confession; documents related to the defendant’s supervision with probation; and a

 transcript of the supervised release violation hearing, which includes testimony from Senior United

 States Probation Officer Candice Yost. As noted in the petition on supervised release, Senior

 Probation Officer Yost was able to review approximately 615 pages of screenshots of the

 defendant’s internet activity, which contained multiple images per page, including various anime

 and anime videos involving child pornography and child pornography. The Government has

 made the PDF screenshots of the websites the defendant accessed and attempted to access available

 for review by defense counsel at the United States Attorney’s Office in Newport News, Virginia,



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 and on September 11, 2017, defense counsel and a defense investigator came to the Newport News

 Office and reviewed the screen shots. The Government indicated to defense counsel that defense

 counsel could come back at the defense’s convenience if an additional review of this discovery

 was necessary, and the Government has made this discovery available for review by a defense

 expert at the Newport News United States Attorney’s Office.

      The crux of the defendant’s argument in support of his motion with regard to Count One is

 that he does not know which websites the government is referring to when it alleges that the

 defendant accessed with the intent to view child pornography, and it is necessary to know which

 specific images the Government alleges are of actual minors. However, this argument ignores

 the discovery that has been made available to the defense, which contains the defendant’s search

 terms and the results of the searches. The defendant offers no case law to support his claim that

 the Government must allege the specific website in the indictment in order for the indictment to

 allege all the essential facts constituting the offense charged. This argument also ignores Fourth

 Circuit precedent, which has upheld as sufficient indictments that did not allege specific acts in

 violation of cited statutes. See, e.g., American Waste Fibers Co., 809 F.2d at 1046-47; Amend,

 791 F.2d at 1125; and United States v. Kelly, 462 F.2d 372, 374 (4th Cir. 1972). Additionally,

 whether the image depicts an actual minor is a factual dispute to be resolved by the jury, not a

 basis for issuing a bill of particulars.

      With regard to Count Two, the defendant argues that the Government has failed to provide

 “any specific facts” regarding which images constitute “obscene anime cartoons.” ECF 23, p. 5.

 Again, this argument ignores the over 600 pages of PDF screenshots the Government has made

 available for defense, and that defense counsel has reviewed showing the defendant’s search

 terms and the images that resulted from those search terms. The United States has already



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 provided information to the Defendant about the child pornography and obscene anime cartoons

 which the defendant is alleged to have accessed and attempted to access.

        Accordingly, the Government has provided Defendant more than sufficient information

 to allow him to prepare his defense, and avoid any surprise at trial.

 IV.    The Trial of Count Five Should Not Be Severed or Bifurcated From The Remaining
        Counts.

        A. Legal Authority

        Federal Rule of Criminal Procedure 8(a) permits joinder of separate offenses where “the

 offenses charged… are of the same or similar character, or are based on the same act or

 transaction, or are connected with or constitute parts of a common scheme or plan.” Fed. R.

 Crim. P. 8(a).   The Fourth Circuit “ha[s] interpreted the latter two prongs of [Rule 8(a)]

 flexibly, requiring [only] that the joined offenses have a ‘logical relationship’ to one another.”

 United States v. Cardwell, 433 F.3d 378, 385 (4th Cir. 2005) (noting that “Rule 8(a) permits very

 broad joinder because of the efficiency in trying the defendant on related counts in the same

 trial)”, quoting United States v. Hirschfeld, 964 F.2d 318, 323 (4 Cir. 1992), cert. denied, 547

 US. 1061 (2006).

        If joinder under Rule 8(a) is proper, “the defendant’s only recourse is to convince the

 court that the charges should be severed under Rule 14—a difficult task.” Blair, 661 F.3d at 770,

 citing Cardwell, 433 F.3d at 387 (incidents where joinder of offenses is proper but severance is

 nevertheless required limited to “rare” case where joinder would “prevent the jury from making a

 reliable judgment about guilt or innocence”).    Accord Hornsby, 666 F.3d at 309 (applying

 Cardwell, and noting again that severance of properly joined counts is “rare”).     Federal Rule of

 Criminal Procedure 14 provides that “[i]f the joinder of offenses or defendants in an indictment,

 an information, or a consolidation for trial appears to prejudice a defendant or the government,

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 the court may order separate trials of counts, sever the defendants’ trials, or provide any other

 relief that justice requires.”

         B.   Argument

      The defendant argues that joinder of Count Five with the remaining counts in the indictment

 is not proper and unduly prejudicial.     In support of this argument, the defendant claims that he

 would be “severely prejudiced if the jury were to learn he was required to register as a sex

 offender.” ECF 24, p. 3.

      The United States maintains that the offenses alleged in the indictment are properly joined,

 and there is no basis to sever or bifurcate any of the counts from one another. This is so because

 evidence relating to each of the Counts would be relevant to proving the others. See United States

 v. Zackson, 6 F.3d 911, 921-922 (2d Cir. 1993) (no prejudice from denial of motion to sever

 because “it is likely that evidence of both conspiracies would have been admissible under Rule

 404(b) in a separate trial of either one”).

      Count Five charges the defendant with penalties for registered sex offenders, in violation of

 18 U.S.C. § 2260A.      Section 2260A is a recidivism statute aimed at increasing punishment for

 sex offenders who commit certain additional offenses. See Unites States v. Carver, 422 Fed.

 Appx. 796, 802 (11th Cir. 2011) (unpublished). It provides:

      Whoever, being required by Federal or other law to register as a sex offender, commits a
      felony offense involving a minor under section 1201, 1466A, 1470, 1591, 2241, 2242, 2243,
      2244, 2245, 2251, 2251A, 2260, 2421, 2422, 2423, or 2425, shall be sentenced to a term of
      imprisonment of 10 years in addition to the imprisonment imposed for the offense under that
      provision. The sentence imposed under this section shall be consecutive to any sentence
      imposed for the offense under that provision.

 18 U.S.C. § 2260A.




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      The statute has two elements: (1) that the defendant committed a specified felony offense

 involving a minor; and (2) that the defendant was required, at the time of that offense, to register

 as a sex offender.

      The defendant’s predicate felony offense, as charged in Count Two of the Indictment, is

 receipt and attempted receipt of obscene visual representations of the sexual abuse of children in

 violation of §1466A(a)(1), which provides:

      Any person who, in a circumstance described in subsection (d), knowingly produces,
      distributes, receives, or possesses with intent to distribute, a visual depiction of any kind,
      including a drawing, cartoon, sculpture, or painting, that—(1)(A) depicts a minor engaging
      in sexually explicit conduct; and (B) is obscene… or attempts or conspires to do so, shall be
      subject to the penalties provided in section 2252A(b)(1), including the penalties provided for
      cases involving a prior conviction.

 18 U.S.C. 1466A.

        With respect to Count Five, evidence of the defendant’s prior sex offenses, and the

 defendant’s sex-offender registration obligation, are admissible in the trial of the access with intent

 to view visual depictions of minors engaged in sexually explicit conduct and attempted receipt of

 obscene visual representations of the sexual abuse of children charges to show, among other things,

 knowledge, intent, and absence of mistake. See Fed. R. Evid. 404(b); 414.


      CONCLUSION

        For the reasons noted above, the United States respectfully requests that the Court deny the

 defendant’s motions.



                                  Respectfully submitted,

                                  Dana J. Boente
                                  United States Attorney


                                    By:                /s/

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                              CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of December 2017, I electronically filed the foregoing

 document for which conventional service is required with the Clerk of Court using the CM/ECF

 System, which will send notice of such filing to the following registered CM/ECF users:



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